

Davis v Brookfield Props. Mgt., LLC (2023 NY Slip Op 05310)





Davis v Brookfield Props. Mgt., LLC


2023 NY Slip Op 05310


Decided on October 19, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 19, 2023

Before: Manzanet-Daniels, J.P., Kern, Scarpulla, Mendez, O'Neill Levy, JJ. 


Index No. 158492/17 Appeal No. 837 Case No. 2022-05275 

[*1]Theodore Davis, Plaintiff-Respondent,
vBrookfield Properties Management, LLC, et al., Defendants-Appellants.


Goetz Schenker Blee &amp; Wiederhorn, LLP, New York (Lisa De Lindsay of counsel), for appellants.
Mitchell Dranow, Sea Cliff, for respondent.



Order, Supreme Court, New York County (Frank P. Nervo, J.), entered on or about May 17, 2022, which denied defendants' motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
The court correctly determined that defendants did not demonstrate, as a matter of law, that they did not create and/or did not have actual or constructive notice of the alleged dangerous condition, an unsupported ceiling tile that fell onto plaintiff. (see Gordon v American Museum of Natural History , 67 NY2d 836, 837-838 [1986]). Even assuming, as defendants argue, that they met their prima facie burden of showing lack of notice through the affidavits of their employees, plaintiff submitted ample
evidence presenting issues of fact on these issues to warrant denial of summary judgment.
We have considered the remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 19, 2023








